
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 92-1335

                          CONSERVATION LAW FOUNDATION, INC.,
                                     Petitioner,

                                          v.

                             JAMES BUSEY, ADMINISTRATOR,
                       FEDERAL AVIATION ADMINISTRATION, ET AL.,
                                     Respondents.

                                 ____________________

          No. 92-1464

                          TOWN OF NEWINGTON, NEW HAMPSHIRE,
                                     Petitioner,

                                          v.

                        DEPARTMENT OF TRANSPORTATION, ET AL.,
                                     Respondents.

                                 ____________________

                          ON PETITION FOR REVIEW OF AN ORDER
                        OF THE FEDERAL AVIATION ADMINISTRATION

                                 ____________________
          No. 95-1019

                          CONSERVATION LAW FOUNDATION, INC.,
                                Plaintiff - Appellant,

                                          v.

                         DEPARTMENT OF THE AIR FORCE, ET AL.,
                               Defendants - Appellees.

                                 ____________________






















          No. 95-1020

                          TOWN OF NEWINGTON, NEW HAMPSHIRE,
                                Plaintiff - Appellant,

                                          v.

                         DEPARTMENT OF THE AIR FORCE, ET AL.,
                               Defendants - Appellees.

                                 ____________________

          No. 95-1047

                          CONSERVATION LAW FOUNDATION, INC.,
                        AND TOWN OF NEWINGTON, NEW HAMPSHIRE,
                               Plaintiffs - Appellees,

                                          v.

                         DEPARTMENT OF THE AIR FORCE, ET AL.,
                               Defendants - Appellees.

                                 ____________________

                             STATE OF NEW HAMPSHIRE, AND 
                             PEASE DEVELOPMENT AUTHORITY,
                               Defendants - Appellants.

                                 ____________________

          No. 95-1048

                          CONSERVATION LAW FOUNDATION, INC.,
                                Plaintiff - Appellee,

                                          v.

                         DEPARTMENT OF THE AIR FORCE, ET AL.,
                               Defendants - Appellants.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                [Hon. Martin F. Loughlin, Senior U.S. District Judge]
                                          __________________________

                                 ____________________



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                                        Before

                            Selya and Cyr, Circuit Judges,
                                           ______________

                        and Schwarzer,* Senior District Judge.
                                        _____________________

                                _____________________

               Lewis M.  Milford,  with whom  Mark A.  Sinclair, Robert  A.
               _________________              _________________  __________
          Backus and Backus, Meyer &amp; Soloman were on brief for Conservation
          ______     _______________________
          Law Foundation.
               Perry  M.  Rosen,  with  whom   Dana  C.  Nifosi,  Cutler  &amp;
               ________________                ________________   _________
          Stanfield, Malcolm R.  McNeill, Jr.  and McNeill  &amp; Taylor,  P.A.
          _________  ________________________      ________________________
          were on brief for Town of Newington, New Hampshire.
               Jeffrey P. Kehne, Attorney,  Environment &amp; Natural Resources
               ________________
          Division, U.S. Department of Justice, with whom Lois J. Schiffer,
                                                          ________________
          Assistant Attorney General, Beverly Sherman Nash, Richard Sarver,
                                      ____________________  ______________
          Edward  J. Shawaker,  Attorneys, Environment &amp;  Natural Resources
          ___________________
          Division, U.S. Department of Justice, Douglas J. Heady, Office of
                                                ________________
          the  General Counsel,  Department  of the  Air  Force, Daphne  A.
                                                                 __________
          Fuller, Attorney,  Office of the Chief  Counsel, Federal Aviation
          ______
          Administration, and  John R. Michaud, Office  of General Counsel,
                               _______________
          U.S.  Environmental  Protection Agency,  were  on  brief for  the
          federal parties.
               Donald  W. Stever,  with  whom Jeffrey  R. Howard,  Attorney
               _________________              __________________
          General, Steven M. Houran, Deputy Attorney General, Office of the
                   ________________
          Attorney  General,  Environmental  Protection  Bureau,  and Dewey
                                                                      _____
          Ballantine,  were on brief for  State of New  Hampshire and Pease
          __________
          Development Authority.


                                 ____________________

                                    April 2, 1996
                                    April 2, 1996
                                 ____________________













                              
          ____________________

          *     Of  the   Northern  District  of   California,  sitting  by
          designation.

                                         -3-














                    SCHWARZER,  Senior  District  Judge.   We  must  decide
                    SCHWARZER,  Senior  District  Judge.
                                _______________________

          whether   defendants   have   complied   with   various   federal

          environmental  laws that apply to the conversion of land on Pease

          Air  Force Base (Pease) in New Hampshire to civilian use incident

          to the base's closure.  The  United States Air Force entered into

          a  long-term lease of a portion  of the base to Pease Development

          Authority (PDA).   Concerned about the  resulting effects on  the

          clean up of hazardous wastes  on the base and the air  quality in

          the area, the Conservation  Law Foundation (CLF) and the  Town of

          Newington, New Hampshire  (Newington) challenge  the Air  Force's

          decision to lease the  property and the support of  that decision

          by  other federal agencies.   CLF and Newington  contend that the

          Air Force and the  Environmental Protection Agency (EPA) violated

          section  176(c) of the  Clean Air Act (CAA),  42 U.S.C.   7506(c)

          (Supp. III 1991), section 102(2)(c) of the National Environmental

          Policy Act (NEPA),  42 U.S.C.    4332(2)(C)  (1988), and  section

          120(h)(3)   of   the   Comprehensive    Environmental   Response,

          Compensation  and Liability Act  (CERCLA), 42 U.S.C.   9620(h)(3)

          (1988).    PDA, the  State of  New  Hampshire, and  several other

          interested parties have intervened and,  along with the Air Force

          and the EPA, oppose the relief sought.  

                    In  a lengthy  opinion  ruling on  the parties'  cross-

          motions for summary judgment, the  district court found that  the

          Air Force had violated  NEPA and CERCLA and directed it to submit

          a Supplemental Final Environmental Impact Statement (Supplemental

          FEIS),  including  a  remedial  design  for  contaminated parcels


                                         -4-














          covered  by  the lease.    The district  court  denied injunctive

          relief,   however,   and   dismissed   all    remaining   claims.

          Conservation  Law Found. v. Department  of the Air  Force, 864 F.
          ________________________    _____________________________

          Supp. 265 (D.N.H. 1994).

                    Plaintiffs have  appealed from the  dismissal of  their

          CAA  claims and  the denial  of injunctive  relief.   The federal

          defendants  have   cross-appealed  from  the  finding  that  they

          violated CERCLA, but have not appealed the district court's order

          directing them to prepare a Supplemental FEIS.  We have appellate

          jurisdiction under 28  U.S.C.   1291.  We reverse the judgment in

          so  far as it  found a CERCLA  violation but affirm  in all other

          respects.  

                    Also before us are petitions filed by CLF and Newington

          to review an order of  the Federal Aviation Administration  (FAA)

          approving PDA's  airport development plan.   We have jurisdiction

          under  49 U.S.C.  app.    1486(a)  and  deny the  petitions  with

          respect  to the  CAA claim  and retain  jurisdiction of  the NEPA

          claim pending completion of the Supplemental FEIS.

                                 I.  BACKGROUND FACTS
                                 I.  BACKGROUND FACTS

                    Acting under  the Base  Closure and Realignment  Act of

          1988 (the Base  Closure Act), Pub. L. No. 100-526, 102 Stat. 2627

          (1988)  (codified as amended at 10 U.S.C.    2687 (1988 &amp; Supp. V

          1993)),  the Air  Force  closed Pease  in  March 1991.    Located

          adjacent  to Newington  and Portsmouth,  New Hampshire,  the base

          occupies some 4,200 acres and comprises extensive facilities that

          supported  Air Force  operations, including  a  runway.   PDA was


                                         -5-














          created  as an agency  of the State  of New Hampshire  to acquire

          certain  parcels of  land  within the  base  and to  develop  and

          implement a plan for their reuse.  It ultimately developed a plan

          envisioning  a  commercial   airport,  light  industry,   various

          commercial uses, retail space, and open space.

                    In preparation for the transfer of land to PDA, the Air

          Force in February  1990 launched  the process  of complying  with

          applicable  environmental  requirements.    The  details  of  the

          process  are set out at  length in the  district court's opinion,

          see 864 F.  Supp. at 270-72, and a summary will suffice here.  In
          ___

          February  1991, the  Air  Force published  a Draft  Environmental

          Impact Statement  (DEIS)  on  which  CLF and  the  EPA  submitted

          comments mainly addressing  air quality concerns.  In April 1991,

          the  Air Force entered  into a  Federal Facility  Agreement (FFA)

          with  the EPA  and the  State of New  Hampshire spelling  out its

          environmental  obligations incident  to  the transfer.   In  June

          1991,  the  Air  Force  prepared  a  Final  Environmental  Impact

          Statement  (FEIS).   The FEIS  stated that,  although development

          under  the  plan,  including   the  increased  traffic  it  would

          generate,  would not result in violations of state or federal air

          quality standards,  it would have  an impact  on New  Hampshire's

          ability to achieve the ozone precursor reductions required by the

          CAA.  To resolve  these air quality  concerns, PDA, the EPA,  and

          the New Hampshire Department of Environmental Services (NHDES) on

          August 1, 1991, entered into a Memorandum of Understanding (MOU).

          The  EPA then issued its comments on the FEIS, stating that while


                                         -6-














          the  project  would reduce  New  Hampshire's  ability to  achieve

          compliance  with  the  CAA,  the MOU  provided  a  framework  for

          compliance.  

                    As required by the Base Closure Act, the Air Force then

          prepared its  initial Record  of Decision (ROD),  documenting its

          decisions regarding the closure  of Pease and the disposition  of

          the   property.     The  ROD   addressed,  among   other  things,

          environmental issues,  including the  CAA's requirement  that the

          project conform with the  New Hampshire State Implementation Plan

          (SIP)  and  CERCLA's requirement  that  the  Air Force  undertake

          certain remedial measures to clean up contaminated sites prior to

          the transfer of those sites to  PDA.  See 42 U.S.C.   7506(c)(1);
                                                ___

          42 U.S.C.   9620(h)(3).

                    Because  the  PDA  plan  contemplated  civilian airport

          operations, FAA approval was  required under the Surplus Property

          Act  of  1944,  50 U.S.C.  app.     1622(g) (1988)  (subsequently

          recodified at  49  U.S.C.      47151-47153  (Supp.  1994)).    In

          February  1992, the FAA issued  an ROD approving  elements of the

          plan  and  recommending  that  the  Air  Force  proceed  with its

          proposed transfer of property to PDA.  

                    In March  1992, CLF filed  this action in  the district

          court, alleging that the  Air Force and the EPA had  violated the

          CAA and NEPA.  In June 1992, Newington filed its action asserting

          the same claims, as well as  a claim under CERCLA.  These actions

          were later consolidated.  CLF and  Newington also filed petitions

          in this court for review of the FAA's February 1992 ROD, alleging


                                         -7-














          that  the FAA  violated NEPA  and  the CAA.   The  petitions were

          stayed pending the outcome of  the district court proceedings and

          are now before us along with the appeals from the judgment below.



                    While  these  actions  were  pending,  the  Air   Force

          continued to pursue the administrative proceedings preparatory to

          the transfer.   In  March 1992,  it issued a  Memorandum for  the

          Record updating  its earlier conformity determination.   In April

          1992, it issued a Supplemental ROD in which it rendered its final

          determination  concerning  the  disposal  of the  Pease  parcels,

          including an acknowledgment that remedial action  on contaminated

          areas  had to be completed before it could transfer those parcels

          by deed.  The Air Force then prepared a Preliminary Environmental

          Survey and,  on the basis of the survey, issued its Finding of No

          Significant Impact (FONSI).  In April 1992, the Air Force entered

          into a 55-year lease  and contract of conveyance to  PDA covering

          these parcels.

                                 II.  SCOPE OF REVIEW
                                 II.  SCOPE OF REVIEW

                    We review de novo the district court's grant of summary
                              _______

          judgment,  Town of Norfolk v. United States Army Corps of Eng'rs,
                     _______________    __________________________________

          968  F.2d  1438,   1445  (1st   Cir.  1992),  as   well  as   its

          interpretation of the  controlling statutes, United  Technologies
                                                       ____________________

          v. Browning Ferris Indus., 33 F.3d 96, 98 (1st Cir. 1994),  cert.
             ______________________                                   _____

          denied,  115 S. Ct. 1176 (1995).   Review of the district court's
          ______

          grant or denial of injunctive relief, in so far as it involves no

          question of law, is for abuse of discretion.  Sunshine Dev., Inc.
                                                        ___________________


                                         -8-














          v. FDIC, 33 F.3d  106, 111 (1st  Cir. 1994;  Narragansett  Indian
             ____                                      ____________________

          Tribe v. Guilbert, 934 F.2d 4, 54 (1st Cir. 1991). 
          _____    ________

                     Regarding   our  review   of   the  district   court's

          assessment of the  record on  which agency action  was based,  we

          have  taken "a practical  approach to  deciding what  standard of

          review to apply."   Sierra Club v. Marsh, 976  F.2d 763, 769 (1st
                              ___________    _____

          Cir.  1992).  When the  district court's judgment  turns upon its

          own  assessment of evidence, "or even upon lengthy district court

          proceedings in  which knowledgeable counsel explain  the agency's

          decision-making  process  in  detail,  we will  show  appropriate

          hesitation  to overturn  that  judgment. .  .  . But,  where  the

          district  court simply  reviews  a set  of agency  documents and,

          applying  the same  legal standard  as we  apply here,  reaches a

          particular  legal  conclusion  about the  'reasonableness'  of an

          agency's action, we have greater legal freedom to differ with the

          district court's ultimate  characterization of agency  behavior."

          Sierra Club  v. Marsh, 769 F.2d  868, 872 (1st Cir.  1985).  With
          ___________     _____

          these principles in mind, we turn to the merits of the appeal.

                            III.  THE CLEAN AIR ACT CLAIMS
                            III.  THE CLEAN AIR ACT CLAIMS

                    The purpose of the CAA, as the district court observed,

          is  "to protect and enhance the Nation's air quality, to initiate

          and  accelerate a  national program  of research  and development

          designed  to  control air  pollution,  to  provide technical  and

          financial assistance  to the States in the execution of pollution

          control programs,  and to  encourage the development  of regional

          pollution  control programs."  See 864 F. Supp. at 273 (citing 42
                                         ___                      ______


                                         -9-














          U.S.C.    7401(b)  (1988)).    Pursuant  to  the  Act,  the   EPA

          established  National  Ambient  Air  Quality   Standards  (NAAQS)

          reflecting  the   maximum  concentration  levels   of  particular

          pollutants  (criteria pollutants)  allowable  to  protect  public

          health.   See 42 U.S.C.   7409 (Supp. III 1991).  Among them were
                    ___

          NAAQS for ozone and  carbon monoxide, both of which  are relevant

          here.   See 40 C.F.R.     50.8, 50.9 (1995).   Responsibility for
                  ___

          achieving  and maintaining the  NAAQS falls on  the states, which

          are  required   to  submit  state  implementation   plans  (SIPs)

          specifying the manner in which they will achieve and maintain the

          NAAQS for the various criteria pollutants.   See 42 U.S.C.   7407
                                                       ___

          (1988 &amp; Supp. III 1991).  

                    The  EPA  and  the  states  have  designated  different

          regions  according to the  level of  criteria pollutants  in each

          area.   See 42 U.S.C.    7407(d)(1)(A).   A region which  has not
                  ___

          attained the NAAQS for a certain criteria pollutant is designated

          a  "nonattainment"   area;  a   region  about  which   there  are

          insufficient  data  to determine  compliance  with  the NAAQS  is

          designated  "unclassified"  and  deemed  in  compliance  with the

          NAAQS.  See id.   At the time the decisions challenged  here were
                  ___ ___

          made,  the  Portsmouth-Dover-Rochester  region, where  the  Pease

          project is located, was designated a "serious nonattainment" area

          for ozone and an "unclassified" area for carbon monoxide.  See 40
                                                                     ___

          C.F.R.   81.330 (1991).  

                    For   serious  nonattainment   areas  for   ozone,  the

          statutory  deadline for attaining the NAAQS is November 15, 1999.


                                         -10-














          42  U.S.C.    7511(a)(1) (Supp.  III 1991).   To  ensure progress

          toward that goal, the  1990 amendments to the CAA  require states

          to revise their SIPs in  a manner that will result in  attainment

          of both the ultimate  deadline and interim milestones established

          by the 1990  amendments.  See 42 U.S.C.    7511a(c)(2) (Supp. III
                                    ___

          1991).

                    To  further  promote  attainment   of  the  NAAQS   for

          different  criteria pollutants,  the 1990  amendments also  added

          specific criteria to section 7506(c)(1) (section 176(c)(1) of the

          CAA), the conformity  provision of the  Act, to wit,  subsections

          (A) and (B)(i)-(iii).   See S. Rep. No. 101-228, 101st  Cong., 2d
                                  ___

          Sess.  28 (1990), reprinted in 1990 U.S.C.C.A.N. 3385, 3414.  The
                            ____________

          conformity provision prohibits federal agencies from approving or

          supporting any activity which does not conform to  an SIP.  Under

          the  new criteria,  conformity means  that the activity  will not

          cause  new  violations, increase  the  frequency  or severity  of

          violations,   or   delay   attainment   of   various   standards,

          requirements, and milestones.  See 42 U.S.C.   7506(c)(1)(B).
                                         ___

                    Plaintiffs claim that  the EPA, the  Air Force and  the

          FAA  violated the  conformity provision.   Plaintiffs  make three

          arguments: (1) that no determination of conformity could  be made

          until NEPA had  been complied with;  (2) that  the EPA failed  to

          make a conformity determination;  and (3) that the Air  Force and

          the FAA  violated the substantive requirements  of the conformity

          provision.  As  a preliminary  matter, however,  we must  address




                                         -11-














          PDA's contention  that the  district court lacked  subject matter

          jurisdiction over plaintiffs' CAA claims.  

           A.  Subject Matter Jurisdiction
           A.  Subject Matter Jurisdiction
               ___________________________

                    Plaintiffs   assert   that   jurisdiction  over   their

          conformity  determination claims  exists  under the  citizen suit

          provision of  the CAA, 42  U.S.C.   7604(a)(1) (1988  &amp; Supp. III

          1991), or in the  alternative, under the Administrative Procedure

          Act  (APA),  5 U.S.C.    702  (1988).    Defendants dispute  that

          jurisdiction exists under either provision.  We address first the

          knotty question of whether  jurisdiction exists under the citizen

          suit  provision;   if  it does,  jurisdiction  under the  APA  is

          precluded.   See  5  U.S.C.    704  (1988) ("Agency  action  made
                       ___

          reviewable  by statute and final agency action for which there is
                                                         __________________

          no  other  adequate remedy  in a  court  are subject  to judicial
          _______________________________________

          review" under  the APA  (emphasis added)).    See Oregon  Natural
                                                        ___ _______________

          Resources Council v.  United States Forest  Serv., 834 F.2d  842,
          _________________     ___________________________

          851  (9th Cir. 1987); Allegheny County Sanitary Auth. v. EPA, 732
                                _______________________________    ___

          F.2d 1167,  1177 (3d  Cir. 1984);  Environmental Defense  Fund v.
                                             ___________________________

          Tidwell, 837 F. Supp. 1344, 1355-57 (E.D.N.C. 1992) (APA provides
          _______

          a  right  of  review  of   agency  decisions  precisely  where  a

          plaintiff's  claim is not covered by  the citizen suit provisions
                                ___

          of the substantive act).

                    1.  The Citizen Suit Provision, 42 U.S.C.   7604.
                    1.  The Citizen Suit Provision, 42 U.S.C.   7604.
                        _____________________________________________

                    We  addressed  the issue  of citizen  suit jurisdiction

          over claims of violation of the  conformity provision once before

          in Conservation  Law Found.  v. Federal Highway  Admin., 24  F.3d
             ________________________     _______________________


                                         -12-














          1465  (1st Cir.  1994)  (CLF).   Although  we held  citizen  suit
                                   ___

          jurisdiction  to  extend  to   the  conformity  provision  claims

          asserted there, we cautioned  that because the "issue is  a close

          one.  . .  . [and]  because the  outcome of  [the] case  does not

          depend upon [the] jurisdictional  ruling, this Court remains free

          to revisit the issue in a  future case where it may be decisive."

          Id. at 1478 n.6.  We do so now.
          ___

                      a.  Legislative History  and Precedent.  "In enacting
                      a.  Legislative History  and Precedent.
                          ___________________________________

          [the  citizen suit]  provision, Congress  expanded federal  court

          jurisdiction  by  circumventing  the  diversity  of  citizenship,

          jurisdictional  amount,  and traditional  standing requirements."

          Wilder v. Thomas, 854 F.2d 605, 613 (2d Cir. 1988), cert. denied,
          ______    ______                                    ____________

          489 U.S.  1053 (1989).  See  S. Rep. No. 91-1196,  91st Cong., 2d
                                  ___

          Sess. 64 (1970), reprinted  at Natural Resources Defense Council,
                           _____________ __________________________________

          Inc.  v. Train, 510 F.2d  692, 725, Appendix  B (D.C. Cir. 1974).
          ____     _____

          Prior   to  the   enactment  of   the  citizen   suit  provision,

          "[g]overnment initiative in  seeking enforcement under the  Clean

          Air Act [had] been  restrained."  S. Rep. No.  91-1196, reprinted
                                                                  _________

          at 510  F.2d at 723.   By authorizing citizens to  bring suit for
          __

          violations   of  CAA  standards,  Congress  sought  to  "motivate

          governmental agencies  charged with  the responsibility to  bring

          enforcement  and abatement proceedings."   Id.  In recognition of
                                                     ___

          the  fact that  "[f]ederal facilities  generate considerable  air

          pollution,"  the  citizen  suit  provision allowed  suits  to  be

          "brought against an  individual or  government agency."   Id.  at
                                                                    ___

          724.  


                                         -13-














                    As Congress opened the  door to citizen suits, however,

          it also sought to  limit that jurisdiction to claims  that "would

          not require reanalysis  of technological or other  considerations

          at  the enforcement stage" and  would have to  meet "an objective

          evidentiary  standard."  Id.   To  that end,  Congress "carefully
                                   ___

          restricted   [citizen  suit   jurisdiction]   to  actions   where

          violations  of standards and regulations or a failure on the part

          of officials to act are alleged."  Id. at 723.
                                             ___

                    Conscious of the concerns  expressed in the legislative

          history,  courts  interpreting  citizen  suit  jurisdiction  have

          largely focused on whether the particular standard or requirement

          plaintiffs sought  to enforce  was sufficiently specific.   Thus,

          interpreting citizen suit jurisdiction  as limited to claims "for

          violations  of  specific  provisions   of  the  act  or  specific

          provisions  of an  applicable  implementation  plan," the  Second

          Circuit  held  that  suits can  be  brought  to enforce  specific

          measures,  strategies,   or   commitments  designed   to   ensure

          compliance with the NAAQS, but not to enforce the NAAQS directly.

          See,  e.g., Wilder, 854 F.2d  at 613-14.   Courts have repeatedly
          ___   ____  ______

          applied this test  as the linchpin of  citizen suit jurisdiction.

          See, e.g., Coalition Against  Columbus Ctr. v. City of  New York,
          ___  ____  ________________________________    _________________

          967 F.2d 764, 769-71 (2d Cir. 1992); Cate v. Transcontinental Gas
                                               ____    ____________________

          Pipe  Line Corp.,  904  F. Supp.  526,  530-32 (W.D.  Va.  1995);
          ________________

          Citizens  for a  Better Env't  v. Deukmejian, 731  F. Supp. 1448,
          _____________________________     __________

          1454-59 (N.D. Cal.), modified, 746 F. Supp. 976 (1990). 
                               ________




                                         -14-














                    Our  decision in  CLF  and  plaintiffs' arguments  have
                                      ___

          therefore focused  on whether the conformity  provision meets the

          requisite level of specificity to serve as the basis of a citizen

          suit.  Before  asking whether the conformity provision passes the

          specificity test,  however, we must consider  the threshold issue

          whether  the  conformity  provision   falls  within  one  of  the

          statutory categories  of violations  for which citizen  suits are

          authorized. 

                      b.  Terms of the Statute.  The CAA permits any person
                      b.  Terms of the Statute.
                          _____________________

          to bring a  civil action "against any person . . . who is alleged

          to  have violated  or to  be in violation  of .  . .  an emission

          standard or  limitation under this  chapter . .  . ."   42 U.S.C.

            7604(a)(1)(A).  An "emission standard or limitation" is defined

          as "a  schedule or timetable of  compliance, emission limitation,

          standard  of performance or emission  standard . .  . which is in

          effect   under  this  chapter  .  .  .  or  under  an  applicable

          implementation plan."   42 U.S.C.   7604(f)(1) (Supp.  III 1991).

          The additional definitions  in subsections (2), (3),  and (4) are

          not  applicable here.1   Thus, citizen  suit jurisdiction  over a

          violation of the  conformity provision is subject  to a two-prong

          test:  (1)  the  conformity  provision  must  be  a  schedule  or

                              
          ____________________

          1    Subsections  (2)  and (3)  deal  with  controls, conditions,
          prohibitions  and requirements related to specific situations and
          provisions  not  at  issue  here.    Subsection  (4)  deals  with
          conformity requirements under  an SIP and does  not apply because
          the requirements were not  incorporated into New Hampshire's plan
          at the material times;  the only relevant conformity requirements
          were those  in  effect  under the  Act  itself.   See  42  U.S.C.
                                                            ___
            7604(f)(2)-(4).

                                         -15-














          timetable  of  compliance,   emission  limitation,  standard   of

          performance, or emission standard,  and (2) it must be  in effect

          under this  chapter or an  applicable implementation  plan.   See
          ___________________                                           ___

          Cate,  904 F. Supp. at  529.  The  conformity provision meets the
          ____

          second prong; as a provision of the Act, it is clearly "in effect

          under the Act."  See CLF, 24 F.3d at 1477.   The sole question is
                           ___ ___

          whether the conformity provision  qualifies as (1) a  schedule or

          timetable  of  compliance,  (2)  an emission  limitation,  (3)  a

          standard of  performance, or (4)  an emission standard,  as these

          terms are defined by other provisions of the Act.  If it does not

          fall within one of these four cat categories, there is no citizen

          suit jurisdiction over the conformity provision claims. 

                      (i) Emission Limitation/Emission  Standard.   Section
                      (i) Emission Limitation/Emission  Standard.
                          _______________________________________

          7602(k)  defines the  terms  "emission  standard"  and  "emission

          limitation" to  mean "a requirement  established by the  State or

          the   Administrator  which   limits   the   quantity,  rate,   or

          concentration  of emissions  of  air pollutants  on a  continuous

          basis . . . ."   42 U.S.C.    7602(k) (Supp. III 1991); see  also
                                                                  _________

          40 C.F.R.   51.100(z) (1991) (EPA's regulations implementing  the

          CAA).  The conformity provision is not "a requirement established

          by the State or the Administrator";  it is a provision of the CAA

          enacted by Congress.   And  while the provision  seeks to  ensure

          conformity with  existing emission  standards or  limitations, it

          does  not itself limit emissions of air  pollutants.  Thus, it is

          not an emissions limitation or standard.




                                         -16-














                      (ii)    Standard  of Performance.    Section  7602(l)
                      (ii)    Standard  of Performance.
                              _________________________

          defines "standard of performance" as "a requirement of continuous

          emission  reduction,  including any  requirement relating  to the

          operation  or  maintenance  of  a  source  to  assure  continuous

          emission  reduction."   42  U.S.C.    7602(l)  (1988 &amp;  Supp. III

          1991).   CLF argues that  the conformity provision  constitutes a

          "standard of  performance" within the meaning  of section 7602(l)

          because it prohibits a federal agency from supporting an activity

          unless that activity is  "consistent with 'reducing' the severity

          and number of  violations in  a nonattainment area  and will  not

          delay timely attainment of any required emission reductions."  In

          support of its argument, CLF relies upon this court's decision in

          CLF, 24 F.3d 1465, to which we now turn.
          ___

                    In that case plaintiff  challenged the Federal  Highway

          Administration's  approval of  a highway  project on  the ground,

          among others, that it  violated the conformity provisions  of the

          CAA.    Unlike the  instant case,  CLF  involved conformity  of a
                                             ___

          transportation plan subject to section 7506(c)(3).  Under section

          7506(c)(3)(A)(iii),  a  transportation  plan  or  program  is  in

          conformity  if it  contributes to  annual emission  reductions in

          amounts specified elsewhere in the CAA. 

                    Referring to  "  7506(c)(1)  &amp; (c)(3)," the  court held
                                                 ________

          that  "[t]hese  conformity  requirements  plainly  constitute  an

          emissions  'standard  of  performance.'"  CLF, 24  F.3d  at  1477
                                                    ___






                                         -17-














          (emphasis  added).2  In so holding, the court observed that those

          provisions  "mandate  that  defendants  demonstrate   that  their

          transportation  projects 'would  contribute  to annual  emissions

          reductions  consistent with' the levels  set out in   7511a(b)(1)

          and    7512a(a)(7)."  Id.   This language reveals that  the court
                                ___

          was relying on    7506(c)(3) for its finding that  the conformity
                         _____________

          requirements constitute a standard of performance.  See 42 U.S.C.
                                                              ___

            7506(c)(3)(A)(iii)  (to be in conformity,  transportation plans

          or programs in ozone and carbon monoxide nonattainment areas must

          "contribute   to  annual  emissions  reductions  consistent  with

          sections 7511a(b)(1) and 7512a(a)(7)").

                    On further reflection, it appears to us that  the route

          to  section 7506(c)(3) lies through  section 7506(c)(1).  In CLF,
                                                                       ___

          as in the case before us, plaintiffs  were challenging government

          action  in approving  an  activity that  did  not conform  to  an

          approved implementation  plan or other conformity  criteria.  See
                                                                        ___

          id. at  1478.   While  subsection  (c)(3) spells  out  particular
          __

          conformity  criteria for  transportation plans,  the crux  of the

          action remained the noncompliance by a government agency, not the

          violation  of an emission standard  by the activity  itself.  The

                              
          ____________________

          2  The court also held that prior case law  limiting citizen suit
          jurisdiction  to enforcement  of specific  measures, commitments,
          and strategies for ensuring compliance with air quality standards
          did  not  preclude  citizen  suit  jurisdiction  over  conformity
          provision  claims  because  the  requirements of  the  conformity
          provision were sufficiently specific and objective.  CLF, 24 F.3d
                                                               ___
          at  1477-78.   While we  do not  disagree with  that part  of the
          analysis,  we do not reach  the specificity issue  unless we find
          that  the   conformity  provision  otherwise   falls  within  the
          statutory definition of an "emission standard or limitation."

                                         -18-














          foundation of the plaintiffs' claims, both there and here, is the

          subsection (c)(1) prohibition of the federal agency's approval or

          support of any activity  not in conformity with an  approved plan

          or other standards, requirements, or milestones.

                    As noted above, a standard of performance is defined as

          "a requirement  of continuous emission  reduction .  . .  ."   42
             ______________________________________________

          U.S.C.   7602(l) (emphasis added).  Nothing in section 7506(c)(1)

          imposes  an  emissions  reduction   requirement.    That  section

          prohibits a federal agency from approving, supporting, or funding

          any activities that  do not "conform" to the provisions of an SIP

          or   other  standards,  emissions   reduction  requirements,  and

          milestones.   The sources  of those standards,  requirements, and

          milestones may  include the  NAAQS or standards  and requirements

          set  out in  an SIP  or provisions  of the  CAA itself.   Section

          7605(c)(1)(A) and (B)  define what  standards must be  met for  a

          project to  be in conformity.   In  the case of  a transportation

          plan  or program,  such  as the  one  at  issue in  CLF,  section
                                                              ___

          7506(c)(3)  imposes additional standards.   Thus,  the conformity

          provision    refers   to   or   involves   standards,   reduction
                       ___________        ________

          requirements, and milestones, in the  sense that a federal agency

          must determine that a  project meets those standards in  order to

          approve or support  it.  However, the conformity provision itself

          imposes no such standards  or requirements.  It simply  imposes a

          duty on federal agencies  not to approve or support  any activity

          that does  not meet  standards, requirements, and  milestones set

          out in an SIP or the CAA.


                                         -19-














                      (iii)  Schedule or Timetable of Compliance.  Section
                      (iii)  Schedule or Timetable of Compliance.
                             ____________________________________

          7602(p) defines a "schedule and  timetable of compliance" to mean

          "a  schedule  of  required  measures   including  an  enforceable

          sequence  of actions or operations  leading to compliance with an

          emission limitation, other limitation, prohibition, or standard."

          42 U.S.C.    7602(p) (1988).     CLF argues  that the  conformity

          provision  is  a  "schedule  or timetable  of  compliance"  under

          section    7604(f)    because    the     "[c]onformity    section

          176(c)(1)(B)(iii)  specifically  prohibits federal  agencies from

          supporting any  activity if it will 'delay  timely attainment' of

          the schedule of compliance set  for nonattainment states like New

          Hampshire to reach 15% emission reduction milestones in  1996 and

          full  ozone  attainment in  1999."   This  argument  is, however,

          inapposite.   The issue  is not whether  the conformity provision

          requires the  federal agency to determine that a project complies

          with  a  schedule or  timetable  of  compliance found  elsewhere;

          rather it  is  whether  the  conformity  provision  is  itself  a

          schedule or  timetable of  compliance.   Plaintiffs here  are not

          suing  a polluter for violation  of the schedule  or timetable of

          compliance  referenced  in  section  176(c)(1)(B)(iii);  they are

          suing  three  federal agencies  for  approving  and supporting  a

          project  that   may  violate   that  schedule  or   timetable  of

          compliance. 

                    It might be argued that the conformity provision itself

          constitutes a "schedule or timetable of compliance" as defined by

          section  7602(p) in that  it requires federal  agencies to follow


                                         -20-














          "an enforceable sequence of  actions . . . leading  to compliance

          with an  emission limitation,  other limitation,  prohibition, or

          standard."   See 42 U.S.C.    7602(p).   The conformity provision
                       ___

          requires  federal agencies  to follow  a sequence  of  actions to

          ensure a  project's conformity with limitations  and standards in

          an existing  SIP or with  the NAAQS.   Those actions,  though not

          specified in  the statute, necessarily include analyses comparing

          "the  most recent estimates of emissions" in the proposed project

          area with the projected emissions in the area were the project to

          go forward, an assessment whether the project meets the  specific

          statutory criteria for conformity based  on those analyses, and a

          determination  whether to support or approve the project.  See 42
                                                                     ___

          U.S.C.   7506(c)(1);  see also Cate, 904 F. Supp. at 523 (finding
                                ________ ____

          that an  agreement  requiring gas  pipe line  company to  conduct

          certain modeling and analyses for determining what measures would

          eliminate violations of  the NAAQS  and to develop  and submit  a

          plan  specifying  corrective  measures  and milestone  dates  for

          instituting  corrective  measures  constituted  a  "schedule"  of

          compliance  within  the  meaning  of  42  U.S.C.      7604(f)(1),

          7602(p)).

                    We  reject this argument, however, on  the basis of the

          EPA's interpretation of "compliance  schedule" in its regulations

          implementing  the CAA.    40 C.F.R.     51.100 (1991).    Section

          51.100(p)  defines "compliance  schedule"  to mean  "the date  or

          dates  by which a  source or category  of sources  is required to
                          _________________________________

          comply  with  specific  emission  limitations  contained  in   an


                                         -21-














          implementation plan  and with  any increments of  progress toward

          such  compliance."   (Emphasis  added.)   40  C.F.R.    51.100(q)

          defines "increments of progress" to mean "steps toward compliance

          which will be  taken by  a specific source  . . .  ."   (Emphasis
                               _____________________

          added.)    These  definitions  make  clear  that  a  schedule  of

          compliance  is  a  sequence  of  actions  that  a  polluter  must
                                                             ________

          undertake  by  certain  specified   dates  in  order  to  achieve

          compliance with relevant emissions limitations or standards.  The

          conformity  requirements  themselves  do  not  fall  within  that

          definition.

                    2.  Review under the APA, 5 U.S.C.   702
                    2.  Review under the APA, 5 U.S.C.   702
                        ____________________________________

                    Having  concluded that  citizen suit  jurisdiction does

          not  extend to violations of the conformity provision, we turn to

          the question whether judicial review is available  under the APA.

          In  the absence  of  a  contrary  statutory  provision,  the  APA

          entitles a person  aggrieved by final  agency action to  judicial

          review  and  requires   that  agency  action  be  set   aside  if

          "arbitrary, capricious, an abuse  of discretion, or otherwise not

          in  accordance with law."  5 U.S.C.    702, 706(2)(A) (1988); see
                                                                        ___

          Marsh  v. Oregon  Natural Resources  Council, 490  U.S. 360,  375
          _____     __________________________________

          (1989).  While  the APA does not provide an independent source of

          subject  matter jurisdiction, it does  provide a federal right of

          action where subject matter jurisdiction exists under 28 U.S.C.  

          1331 (giving  district courts  jurisdiction of all  civil actions

          arising under the laws of the United States).   See Japan Whaling
                                                          ___ _____________




                                         -22-














          Ass'n v. American Cetacean  Soc'y, 478 U.S. 221, 230  n.4 (1986);
          _____    ________________________

          Califano v. Sanders, 430 U.S. 99, 104-07 (1977). 
          ________    _______

                    Defendants argue that   1331 cannot confer jurisdiction

          over  the conformity claims against  the Air Force because, under

          Middlesex County  Sewerage Auth. v. National  Sea Clammers Ass'n,
          ________________________________    ____________________________

          453  U.S. 1  (1981), no  implied private  right of  action exists

          under the Clean Air Act.  Defendants' reliance on Sea Clammers is
                                                            ____________

          misplaced.   In  Sea  Clammers, the  Supreme  Court held  that  a
                           _____________

          comprehensive  statutory  enforcement  mechanism complemented  by

          provisions for  citizen suits precluded an  implied private cause

          of action for damages.  See Sea Clammers, 453 U.S. at 17-18.  But
                                  ___ ____________

          an implied  right of  action is  not a predicate  for a  right of

          judicial  review  under the  APA.    See,  e.g.,  Oregon  Natural
                                               ___   ____   _______________

          Resources Council, 834 F.2d at  851.  The central purpose of  the
          _________________

          APA  is  to "provid[e]  a broad  spectrum  of judicial  review of

          agency  action."    Bowen v.  Massachusetts,  487  U.S. 879,  903
                              _____     _____________

          (1988).  Therefore, "[a]  cause of action for review  of [agency]

          action  is  available  [under  the APA]  absent  some  clear  and

          convincing evidence of legislative intention to preclude review."

          Japan Whaling, 487  U.S. at 904.   The citizen suit  provision of
          _____________

          the CAA provides no "clear and convincing evidence of legislative

          intention to preclude  review"; to the  contrary, it includes  an

          explicit  savings  clause for  other rights  of  relief.   See 42
                                                                     ___

          U.S.C.   7604(e) (1988) (preserving "any right which any person .

          . .  may have under  any statute  . . .  to seek . . . any  other

          relief");  Oregon Natural Resources Council, 834 F.2d at 851 n.15
                     ________________________________


                                         -23-














          (same  savings clause  under Clean Water  Act preserves  right of

          review under APA);  Hough v.  Marsh, 557 F.  Supp. 74, 77-79  (D.
                              _____     _____

          Mass.  1982) (same).  Moreover, cases  decided after Sea Clammers
                                                               ____________

          have expressly recognized that the APA provides a right of review

          of  agency decisions precisely  where a plaintiff's  claim is not

          covered  by the  citizen suit  provision of the  substantive act.

          See, e.g., Oregon  Natural Resources  Council, 834  F.2d at  851;
          ___  ____  __________________________________

          Allegheny County Sanitary  Auth., 732 F.2d at 1177;  Tidwell, 837
          ________________________________                     _______

          F. Supp. at 1355-57.  Other cases cited by defendants are equally

          inapposite since  none involve judicial review  of agency action.

          See,  e.g., Greenfield and Montague Transp. Area v.  Donovan, 758
          ___   ____  ____________________________________    ________

          F.2d  22, 26  (1st  Cir. 1985)  ("mere  existence of  a  disputed

          question  of  federal  law   does  not  confer  federal  question

          jurisdiction").

                    Finally,  we must  consider whether  42 U.S.C.  7607(b)

          bars  district   court  jurisdiction  under  the   APA  over  the

          conformity  provision claim  against  the EPA.   Section  7607(b)

          provides for  judicial review of "any  . . . final  action of the

          Administrator"  by the  filing  of a  petition  in the  court  of

          appeals.  In this case, plaintiffs complain that the EPA violated

          section  7506  by  approving  and supporting  the  Pease  project

          without  making  the  requisite conformity  determination.    The

          obligation under  that section  runs to any  "department, agency,

          [and] instrumentality of the Federal Government."   Action by the

          EPA to comply with section 7506 is not action taken by  it in its

          capacity of administrator and  enforcer of the CAA.   The text of


                                         -24-














          the  statute supports  this  distinction.    Where it  refers  to

          obligations  imposed  on the  EPA by  the  CAA, it  imposes those

          obligations  on   the  Administrator.    See,   e.g.,  42  U.S.C.
                                                   ___    ____

            7506(c)(4)(A)("the Administrator shall promulgate  criteria and

          procedures  for  determining conformity  .  .  .  of  . .  .  the

          activities  referred to  in [section  7506(c)(1)])"; 42  U.S.C.  

          7601(a)(1)("the  Administrator  is authorized  to  prescribe such

          regulations as  are necessary  to carry out  his functions  under

          this chapter").   And review  under section 7607(b)  is only  "of

          action  of the  Administrator."   In summary,  plaintiffs' claims

          concern  action  taken  by the  EPA  qua  agency  of the  federal

          government,  not as  administrator  or enforcer  of the  CAA, and

          hence are not subject to review under section 7607(b).

          B.  Conformity Determination in Absence of NEPA Compliance
          B.  Conformity Determination in Absence of NEPA Compliance
              ______________________________________________________

                    Plaintiffs argue  that since  the district  court found

          the air quality analyses  used by the federal  agencies deficient

          and not in compliance with NEPA, it should not have addressed the

          merits of  the CAA claims.  Neither the agencies nor the district

          court,  the   argument  goes,  could   make  reasoned  conformity

          determinations under  the CAA  based on noncomplying  air quality

          analyses.   The  argument  raises two  separate  issues:   Was  a

          conformity  determination precluded  as  a matter  of law  before

          completion of the NEPA process?   And, even if it was  not, could

          the  Air Force and the  FAA reasonably make  such a determination

          before the NEPA process had been completed here?




                                         -25-














                    We  can readily  dispose of the  first issue.   Section

          7506(c)(1)   sets  forth   its  own   standards  for   evaluating

          conformity.   Nothing  in that  section or  elsewhere in  the CAA

          requires the  information on which a  conformity determination is

          based to have been subject to review, analysis, or public comment

          pursuant to NEPA.   Moreover,  regulations issued by  the EPA  in

          1993   prescribing   procedures  and   criteria   for  conformity

          determinations  suggest  no  connection   between  NEPA  and  CAA

          compliance.  See 42  U.S.C.   7506(c)(4)(A);  40 C.F.R.  Part 51,
                       ___

          Subpart W  (1994); 40 C.F.R. Part  93, Subpart B (1994).   To the

          contrary,  they specify that  "[w]here multiple  Federal agencies

          have jurisdiction  for various aspects  of a  project, a  Federal

          agency may choose to adopt the analysis of another Federal agency

          or  develop  its own  analysis in  order  to make  its conformity

          determination."   40  C.F.R.    93.154  (1994).   And  40  C.F.R.

            93.156(b) (1994) states that  the 30-day comment period  for an

          agency's draft conformity  determination "may be concurrent  with

          any  other  public  involvement,  such  as  occurs  in  the  NEPA

          process."  We see no basis  for engrafting a requirement that the

          NEPA process be completed before a determination is made.

                    Plaintiffs next contend that the Air Force and  the FAA

          could  not reasonably  make the  conformity determination  before

          completing  the NEPA process.  If the federal agencies had relied

          entirely  on  the  FEIS   as  the  basis  for  their   conformity

          determinations, and if  the district  court had  later found  the

          analyses  in the FEIS deficient under NEPA on substantive grounds


                                         -26-














          that would also have affected the conformity analysis required by

          the CAA,  the CAA conformity  determination might also  have been

          deficient.  See, e.g., Sierra Club v. Sigler,  695 F.2d 957, 980-
                      ___  ____  ___________    ______

          83  (5th  Cir.),  reh'g denied,  704  F.2d  1251  (1983).   That,
                            ____________

          however, is not what happened here.   The NEPA problem arose from

          a failure to comply  with the public comment requirement  in that

          the  agencies   relied  for  their  conformity  determination  on

          information and analyses that  they had failed to include  in the

          FEIS or a  Supplemental FEIS  for public comment.   The  district

          court  found that those materials were a sufficient basis for the

          conformity  determinations; they simply  should have been subject

          to  public review and comment  to meet the  requirements of NEPA.

          See 864 F. Supp. at 284-85, 288.  Because such  public review and
          ___

          comment  are not required  under the conformity  provision of the

          CAA,  the NEPA  violation  did  not  affect  the  merits  of  the

          conformity determination and hence does not require that we defer

          passing on the conformity claims. 

          C.  Conformity Determination by the EPA
          C.  Conformity Determination by the EPA
              ___________________________________

                    "In  accordance with [the EPA's] responsibilities under

          . . . [NEPA and CAA]," the EPA issued a review of the Air Force's

          FEIS on August 14, 1991.  In that review, the EPA addressed air












                                         -27-














          quality concerns related to the Pease project.  It first reviewed

          its  earlier conclusions  that  the project's  air impacts  would

          hinder New Hampshire's ability  to achieve required reductions in

          ozone precursor emissions  and would cause  violations of the  CO

          standards.  The EPA then reviewed the terms of the MOU into which

          it had  entered with PDA  and NHDES  and concluded  that the  MOU

          "provides  a framework  that,  if  successful,  gives  reasonable

          assurance that  the Pease  development can proceed  in compliance

          with the CAA."  The MOU itself quotes the text of section 7506(c)

          and states  that its  purpose  is to  "accommodate the  statutory

          responsibilities of the Parties  and provide assurance of orderly

          and  phased development  in  compliance with  CAA  requirements."

          Moreover,  the commitments in the  MOU indicate that  the EPA was

          considering  the specific  statutory criteria  in  the conformity

          provision.  For example, the MOU specifies that, in the event the

          CO air quality analysis  required by the MOU shows  that proposed

          traffic increases from redevelopment  "may cause or contribute to

          a new violation of the carbon monoxide NAAQS," PDA must implement

          measures necessary  to reduce projected  traffic increases and/or

          air emissions  impacts to a level which will not result in such a

          condition.  See infra pp.  48-50.
                      ___ _____

                     Section 7506(c) does not specify the form a conformity

          determination must take; when the  agencies acted, they had  only

          the  statute  to  guide them  because  the  regulations  were not

          adopted until 1993.  Taking that fact into  account, we think the

          EPA's  actions  sufficiently  reflect  that  it  considered   the


                                         -28-














          project's  potential  impact  on  air  quality  in  light  of the

          conformity provision  and, based on  the commitments in  the MOU,

          see infra pp. 48-54, determined that the project could be carried
          ___ _____

          out in conformity with applicable air quality standards. 

          D.  Agencies' Compliance with 42 U.S.C.   7506(c)(1)
          D.  Agencies' Compliance with 42 U.S.C.   7506(c)(1)
              ________________________________________________

                    Having found that the  EPA made the required conformity

          determination, we now consider  whether its determination and the

          determinations  made by the Air  Force and the  FAA complied with

          the statute.   As noted,  the statute prohibits  federal agencies

          from  supporting  or  approving  a project  unless  that  project

          "conforms to an implementation plan after it has been approved or

          promulgated  under  section 7410  of this  title."   42  U.S.C.  

          7506(c)(1). "[C]onformity to an implementation plan means"

                    (A)  conformity  to an  implementation plan's
                    purpose  of  eliminating   or  reducing   the
                    severity  and  number  of violations  of  the
                    national ambient air quality standards; and 
                    (B) that such activities will not--
                      (I)   cause  or   contribute  to   any  new
                    violation of any standard in any area;
                      (ii)  increase the frequency or severity of
                    any existing violation of any standard in any
                    area; or 
                      (iii)  delay  timely   attainment  of   any
                    standard  or  any  required interim  emission
                    reductions or other milestones in any area.

          42 U.S.C.   7506(c)(1)(A),(B). 

                    At  the outset  we  note  two relevant  considerations:

          First,  no regulations  interpreting  these  provisions had  been

          promulgated   when    the   agencies   made    their   conformity

          determinations; therefore, they had only the words of the statute

          to  guide them.  Second, a conformity determination is inherently


                                         -29-














          fact-intensive;  therefore,  what  constitutes  conformity  is  a

          function  of  the unique  characteristics  of  the project  being

          approved. 

                    1.  Substance of the Conformity Determinations.
                    1.  Substance of the Conformity Determinations.
                        ___________________________________________

                    The EPA, the Air Force, and the FAA all determined that

          the  transfer  and  redevelopment  of Pease  met  the  conformity

          requirements of section 7506(c)(1).  As discussed above, evidence

          that the EPA made a conformity  determination is found in the MOU

          and the EPA's review of the FEIS.   See supra pp. 33-35.  The Air
                                              ___ _____

          Force's conformity determination  is contained in two  documents:

          its  ROD,  issued August  20, 1991,  and  its Memorandum  for the

          Record,   issued  March   20,   1992.     The  FAA's   conformity

          determination is contained  in its ROD, issued February 26, 1992.

          Those  documents reveal  the bases  for the  agencies' conformity

          determinations.   We now examine those bases to determine whether

          the agencies abused  their discretion  when they  found that  the

          Pease  project  met   the  conformity  requirements  of   section

          7506(c)(1).

                    The  agencies relied  on  information  and  commitments

          contained   in  various  documents  in  making  their  conformity

          determinations.    The  EPA,   as  previously  noted,  based  its

          conformity determination on the commitments made in the MOU.  The

          Air Force based its determination  on the MOU, post-FEIS  studies

          conducted by NHDES and  discussed in the letter of  certification

          written  by  Robert  W.  Varney, Commissioner  of  NHDES  (Varney

          letter), and the FAA's conditional approval of certain aspects of


                                         -30-














          the  Pease  project.   Similarly,  the FAA  based  its conformity

          determination  on  the MOU,  the  NHDES  studies and  conclusions

          discussed  in  the  Varney   letter,  the  Governor's  letter  of

          assurance,3 and  its own conditional approval  of certain aspects

          of  the Pease  project.  Each  of  the  bases  of  the  agencies'

          conformity determinations is briefly summarized below.

                      a.   The  Memorandum of  Understanding.   Because the
                      a.   The  Memorandum of  Understanding.
                           __________________________________

          FEIS concluded that air  emissions likely to be generated  by the

          expected redevelopment of the  airport would add to the  level of

          ozone   precursor  emissions4   experienced  in   the  Portsmouth

          Metropolitan Statistical  Area and because of  the EPA's concerns

          about the  air quality impacts  of Pease redevelopment,  the EPA,

          PDA,  and   NHDES  entered   into   an  agreement--the   MOU--"to

          accommodate the  statutory responsibilities  of the Parties,  and

          provide assurance of orderly and phased development in compliance

          with CAA requirements."

                    The MOU acknowledges  that, because  the region  around

          Pease  was a serious nonattainment region for ozone, the 1990 CAA

          amendments required New  Hampshire to revise  its SIP to  achieve

                              
          ____________________

          3   Both the  Air Force  and the FAA  cite Governor  Judd Gregg's
          February 13, 1992, letter of assurance (Governor's letter) as one
          basis  for   their  conformity   determinations.     Because  the
          Governor's letter relied  primarily on the NHDES  studies and the
          Varney  letter as the grounds for its assurance of conformity, we
          do not discuss it separately.

          4   Ozone  precursors include  nitrous oxide  (NOx) and  volatile
          compounds  (VOCs)  such  as hydrocarbons  (HC).    See 40  C.F.R.
                                                             ___
            51.852  (1995)  (ozone precursors  include  NOX  and VOCs);  40
          C.F.R.   51.100(s)  (1995) (VOCs  include any compound  of carbon
          except those listed in regulation).

                                         -31-














          net reductions of  15% in total  volatile organic compound  (VOC)

          emissions  by November  15, 1996,  and 3%  each year  thereafter,

          until the  region achieved compliance  with the NAAQS  for ozone.

          To  ensure compliance  with the  CAA and the  SIP, PDA  and NHDES

          committed themselves, under the terms of the MOU, to take certain

          actions.  

                    With respect to carbon monoxide (CO) emissions, the MOU

          provides that:

                      (1) PDA will undertake a surface transportation study

                    examining existing vehicle traffic  patterns, projected

                    vehicle traffic increases associated  with development,

                    and potential for alternative modes of transportation.

                      (2) Based on the results of the transportation study,

                    PDA  will  develop  a comprehensive  traffic  model and

                    surface transportation master plan  for the Pease area.



                      (3) Using the traffic model  and periodically updated

                    traffic  counts,  PDA  will undertake  intermittent  CO

                    analyses to determine compliance with the one and eight

                    hour CO NAAQS and report the results of all CO analyses

                    to EPA.

                      (4)  In the  event that  the CO  analyses demonstrate

                    that   a   proposed   traffic   increase   from   Pease

                    redevelopment  may  cause   or  contribute  to  a   new

                    violation of the NAAQS for CO, PDA, in conjunction with

                    any  other  state  agency  whose  participation  may be


                                         -32-














                    necessary, "will implement measures necessary to reduce

                    projected  traffic  increases   and/or  air   emissions

                    impacts  to  a  level  which  will  not  result in  any

                    violation of,  or any  contribution to a  violation of,

                    the NAAQS" for CO.

                    With  respect to hydrocarbon (HC) emissions, PDA agreed

          not to develop Pease  beyond a level anticipated to  generate 3.3

          tons  per day  of  HCs until  New Hampshire  revised  its SIP  to

          accommodate greater emissions and the EPA approved the new SIP.  

                    Finally, with respect to all emissions, NHDES agreed to

          consult with PDA in preparing the revised SIP and to evaluate and

          incorporate into  the new  SIP projected emission  increases from

          Pease redevelopment.

                      b.   NHDES Studies and the Varney Letter.  The Varney
                      b.   NHDES Studies and the Varney Letter.
                           ____________________________________

          letter  considered  two  possible   readings  of  the  conformity

          requirements  of section  7506(c)(1)(B):  (1)  that "the  federal

          agency need  only  determine that  the  proposed activity  is  in

          conformity with the terms of the existing SIP," and (2) that "the

          determination  must  address  the  three elements  set  forth  in

            [7506(c)(1)(B] . . . separately, regardless of the terms of the

          SIP."   The  letter  concluded that  Pease development  conformed

          under  either reading.  This  conclusion was based  on studies of

          air emissions  completed  by NHDES  after  the FEIS  was  issued.

          These studies compared baseline emissions from 1989 (during full-

          scale  military  operations  at Pease)  and  1990  (when the  CAA

          amendments were enacted and some military operations at Pease had


                                         -33-














          already ceased) with projected emissions to 1997.5  According  to

          the Varney letter,  the emissions were not  projected beyond 1997

          because such projections would be too speculative and  because by

          1997 New Hampshire would adopt a new SIP to address any increases

          in emissions.

                    Based on these  studies, NHDES concluded,  with respect

          to  ozone,  that  by  1997  emissions  of  HCs,  ozone's  primary

          precursor, would likely reach approximately 2.5 tons per day, the

          same level  as Pease  emitted in  1990, when  military operations

          were  less than full-scale.  At full-scale, HC emissions at Pease

          had been  variously estimated at 3.3 to 4 tons per day, which was

          still  in compliance with the existing SIP.  Overall ozone levels

          generated locally  were expected  to decline because  older cars,

          which  produce more HCs,  were slowly being  replaced and because

          "stage  II  vapor  recovery  at gasoline  filling  stations"  was

          commencing.   For  these  reasons, projections  of overall  ozone

          levels  generated by the Pease area were expected to remain below

          the 1989 and 1990 levels through Phase I of redevelopment.

                    With respect  to CO emission levels,  the NHDES studies

          showed that, comparing 1989 and 1990 to 1997, Pease redevelopment

          would not result  in a  significant increase in  the air  quality

          region.    And  improvement  of  the  intersection  at  Spaulding

          Turnpike  and  Gosling  Road  (Spaulding   Turnpike/Gosling  Road



                              
          ____________________

          5   Projected emissions  to 1997 took  into account redevelopment
          through Phase I of the Pease project, i.e., the first five years.
                                                ____

                                         -34-














          interchange) would significantly lessen  CO levels locally during

          the period studied.6

                    NHDES  ultimately  concluded  that Pease  redevelopment

          satisfied  the  three  conformity  criteria set  out  in  section

          7506(c)(1)(B): that, through 1997, Pease redevelopment would  not

          cause  or contribute to any new  violation of any standard in any

          area;  increase  the  frequency   or  severity  of  any  existing

          violation of any standard in any area; or delay attainment of any

          standard  or any  required interim  emission reductions  or other

          milestones in any area.

                    NHDES  also concluded that  Phase I redevelopment would

          not  violate any specific provision  of the SIP  but rather would

          "conform  to the  SIP's purpose  of eliminating  or  reducing the

          severity  and number of  violations of  the national  ambient air

          quality standards,  and achieving expeditious attainment  of such

          standards."  See  42 U.S.C.  7506(c)(1)(A).   NHDES reached  this
                       ___

          conclusion  for  several  reasons:   (1)  the  existing  SIP  was

          developed  when  Pease  was  fully  operational and  incorporated

          emissions from Pease  at that level of operation; (2)  Phase I of

          Pease redevelopment was expected  to produce fewer emissions than

                              
          ____________________

          6  Although the NHDES studies noted that the "air quality region"
          had "no  historic attainment  or maintenance problem  with carbon
          monoxide" NAAQS, the air  quality analysis in the FEIS  had shown
          present and ongoing violations of the NAAQS for CO at the Gosling
          Road/Spaulding  Turnpike  interchange, the  main  gate  to Pease.
          Post-FEIS supplemental  air quality  modeling of the  interchange
          area,  based  on corrected  data, showed  that  CO levels  at the
          interchange would  stay  within  the  NAAQS through  Phase  I  of
          redevelopment upon  completion of scheduled  improvements at  the
          interchange.

                                         -35-














          the base produced during full operation; and (3) increased levels

          of emissions from later stages of development would be taken into

          account in the future SIP.

                      c.  FAA's Approval of Airport Redevelopment.  The FAA
                      c.  FAA's Approval of Airport Redevelopment.
                          ________________________________________

          reviewed  the  Airport  Layout  Plan  (ALP),  PDA's  proposal  to

          redevelop airport-related  property at Pease, as  required by the

          Surplus Property Act.  In its ROD, it approved each  of the items

          in  the   ALP,  either  unconditionally  or   conditionally,  and

          recommended  that the Air Force proceed with its proposal to make

          property at Pease  available for use as  a civilian airport.   It

          gave unconditional  approval to  the minor,  interim and  Phase I

          redevelopment outlined in the ALP but, to ensure conformity, only

          conditional approval to key  items in the ALP.  It concluded that

          its approval "conform[s] with the approved SIP."

                    Regarding the later phases  of the redevelopment, which

          could have a significant impact on air quality, FAA approval will

          be  required once plans for them  are made final and proposed for

          implementation; that approval will be  granted only after the FAA

          determines  whether additional  air  quality analysis  and a  new

          conformity finding are  required.  Further, FAA  approval will be

          required  for any new projects not depicted in the ALP, providing

          additional assurances of conformity.

                    2.      Plaintiffs'   Challenges   of   the  Conformity
                    2.      Plaintiffs'   Challenges   of   the  Conformity
                            _______________________________________________

          Determinations.
          Determinations.
          _______________

                    Plaintiffs   charge   that  the   agencies'  conformity

          determinations ignore evidence  demonstrating that  redevelopment


                                         -36-














          would   cause  new   CO  violations,   increase  existing   ozone

          violations,  and delay  attainment  of the  clean air  standards.

          Instead of  properly addressing these problems  prior to approval

          of the project,  they contend, the agencies improperly shifted to

          New Hampshire  the burden of achieving  future conformity through

          amendments to the SIP.

                      a.   Evidence  of Violation  of  Conformity Criteria.
                      a.   Evidence  of Violation  of  Conformity Criteria.
                           ________________________________________________

          Plaintiffs contend that the redevelopment of Pease will cause new

          violations  of the NAAQS for CO, increase violations of the NAAQS

          for   ozone,  and   delay   attainment  of   CAA  standards,   in

          contravention of section 7506(c)(1)(B).

                      (i)   Evidence   Regarding   Effects   of   Phase   I
                      (i)   Evidence   Regarding   Effects   of   Phase   I
                            _______________________________________________

          Redevelopment.  The  NHDES studies discussed in the Varney letter
          Redevelopment.
          ______________

          and the post-FEIS studies  on the Spaulding Turnpike/Gosling Road

          interchange indicate  that Phase I redevelopment  activities will

          conform to the  section 7506(c)(1)(B)  criteria, as  long as  New

          Hampshire   improves   the   Spaulding    Turnpike/Gosling   Road

          interchange  as required.7    As discussed  above, NHDES  studies

          used  1989 and  1990  emissions  estimates  as the  baseline  for

          performing  the conformity analyses.  The EPA, Air Force, and the

          FAA   adopted  those   studies   in   making   their   conformity

          determinations.
                              
          ____________________

          7   New  Hampshire  is  committed  to making  these  improvements
          because,   as   noted  above,   NHDES's  conclusion   that  Pease
          redevelopment through  Phase I meets the  conformity criteria was
          based on the assumption that this  interchange would be improved.
          See  supra   p.  42  n.6.     Similarly   the  FAA's   conformity
          ___  _____
          determination was based  in part on improvement of  the Spaulding
          Turnpike/Gosling Road interchange. 

                                         -37-














                    Section 7506(c)(1)(B) states that  "[t]he determination

          of  conformity shall  be based  on the  most recent  estimates of

          emissions .  . . ."   NHDES explained  that it selected  1989 and

          1990 rather than  1991 (the  year it performed  the analysis)  as

          baseline years because 1989 was 

                    "the most recent year representative of full-
                    scale  military  operation  at  Pease.   This
                    appears  to   us  to  be  the  most  relevant
                    comparison,  since  Congress's  intention  in
                    Section [7506(c)] is clearly to  evaluate new
                    developments in the  context of  pre-existing
                    conditions . . . .   We assume  that Congress
                    did  not  intend that  a  project like  Pease
                    redevelopment   would   be  penalized   under
                    [7506(c)]  because there  is  a temporal  gap
                    between the federal government's  decision to
                    terminate  operations at Pease and the start-
                    up of the State's redevelopment of the  base,
                    during which  a  temporary reduction  in  the
                    emission  inventory occurred  as a  result of
                    activity phase-down." 

          Use of 1991 as a baseline, it added, "would unfairly penalize the

          Pease redevelopment project, since 1991  emissions of CO, NOX and

          VOCs are significantly less than historical norms because  of the

          Air Force's cessation of activities at Pease."

                    Under the Chevron doctrine, an  agency's interpretation

          of a statute is entitled to  weight when the statute is silent or

          ambiguous.    See  Chevron,  U.S.A., Inc.  v.  Natural  Resources
                        ___  ______________________      __________________

          Defense  Council,  Inc.,  467 U.S.  837,  842-3  (1984).   As  an
          _______________________

          abstract  matter,   the  words  of  the   statute,  "most  recent

          estimates,"  would  not   be  considered  ambiguous;   a  literal

          interpretation  would require the agencies to use 1991 data.  See
                                                                        ___

          42  U.S.C.    7506(c)(1)(B) (conformity  determination "shall  be



                                         -38-














          based  on  the  most recent  estimates  of emissions  .  .  . .")
                          ___________

          (emphasis added).  

                    Courts have, however, recognized that  "[a] statute may

          be  ambiguous if its application leads to an irrational or absurd

          result."   Ewing v.  Rodgers, 826  F.2d 967,  970 n.3  (10th Cir.
                     _____     _______

          1987) (citing  In re Rodman,  792 F.2d  125, 128  n.8 (10th  Cir.
                 ______  ____________

          1986));  see also  United  States v.  Real  Estate Known  as  916
                   ________  ______________     ___________________________

          Douglas  Ave., 903 F.2d 490,  492 (7th Cir.  1990), cert. denied,
          _____________                                       ____________

          498  U.S. 1126 (1991).   Courts have also  recognized that "[t]he

          plain meaning of legislation should be conclusive, except in  the
                                                             ______

          'rare  cases [in which] the literal application of a statute will

          produce  a result demonstrably at odds with the intentions of its

          drafters.'"  United States v. Ron Pair Enters., 489 U.S. 235, 242
                       _____________    ________________

          (1989), (quoting  Griffin v.  Oceanic Contractors, Inc.  458 U.S.
                   _______  _______     _________________________

          564, 571 (1982)) (emphasis added).   This appears to us to be one

          of  those rare  cases where  the plain  meaning would  lead to  a

          result  that is irrational and at  odds with the intention of the

          legislature.  Read  literally, the plain language  of the statute

          as  applied  in  base-closing  cases  would  require   conformity

          determinations to be based on  a wholly artificial situation, the

          interval  during which  military  operations have  shut down  and

          civilian  activities not yet started.   The likely consequence in

          many cases would be to  preclude any economically beneficial  use

          of  a closed  military base.   Such  a result  is  irrational and

          presumably unintended by Congress.  In  view of Congress's strong

          support of  civilian redevelopment of closed  military bases, see
                                                                        ___


                                         -39-














          infra pp.  57-58,  it would  not  have wanted  to  erect a  major
          _____

          obstacle to economically beneficial, post-closing uses of a base.

          Thus, the agencies' reliance  on the NHDES studies based  on 1989

          and 1990 estimates was reasonable under the circumstances.  Those

          studies  support the  determination  that Phase  I  redevelopment

          meets the statutory conformity criteria.

                      (ii)  Evidence  Regarding  Effects  of  Post-Phase  I
                      (ii)  Evidence  Regarding  Effects  of  Post-Phase  I
                            _______________________________________________

          Redevelopment.   Other  air quality  studies conducted  by NHDES,
          Redevelopment.
          ______________

          however, suggest  potential violation of the  conformity criteria

          in  later  phases  of  Pease   redevelopment,  absent  mitigation

          measures.   With respect to CO emissions, the FEIS indicated that

          by the  year 2010 redevelopment  was expected to  generate 68,000

          daily  vehicle  trips into  the Pease  area.   The  main  area of

          concern for traffic congestion causing emissions increases is the

          intersection of  Spaulding Turnpike and Gosling  Road.  Post-FEIS

          air quality  studies of  that intersection indicated  that, while

          construction  of   the   new  Spaulding   Turnpike/Gosling   Road

          interchange by  NHDOT would bring  the area into  compliance with

          NAAQS  for  CO through  the end  of  the decade,  traffic volumes

          associated with Pease  redevelopment and regional  growth through

          the  full build-out  year  2010 could  cause violations  unless a

          second   entrance   interchange   to   Pease   was   constructed.

          Redevelopment would therefore contribute to new violations of the

          NAAQS for CO sometime after the turn of the century.

                    Similarly,  an  EPA  memorandum  dated  July 24,  1991,

          indicated that, while Phase I of Pease redevelopment was expected


                                         -40-














          to  generate  only  2.5  tons  per  day  of  HCs  (a  major ozone

          precursor),  Phase II extending to the year 2002 was estimated to

          generate 4.8  tons  per day.    At  that level,  Phase  II  would

          increase existing violations, as well as delay attainment, of the

          NAAQS for ozone absent  some other changes or the  institution of

          mitigation measures.

                      b.  Mitigation Measures.  Plaintiffs contend that the
                      b.  Mitigation Measures.
                          ____________________

          supporting agencies  improperly shifted the burden  of compliance

          to  New Hampshire  and the  SIP process  and that  the mitigation

          measures  agreed to by the  parties failed to  meet the statutory

          criteria of the conformity provision.

                      (i) Carbon  Monoxide.  With respect  to CO emissions,
                      (i) Carbon  Monoxide.
                          _________________

          the  MOU requires PDA to  conduct a surface transportation study,

          develop  a  traffic model  and master  plan  for the  Pease area,

          conduct  intermittent  CO   analyses,  and  implement  mitigation

          measures  as  needed.     As  to  the  latter,  the   MOU  states

          categorically that "PDA, and if necessary in conjunction with any

          other appropriate state agency, will implement measures necessary
                                          _______________________

          to  reduce  projected  traffic  increases  and/or  air  emissions

          impacts to  a level which will not result in any violation of, or

          any  contribution  to  a  violation  of,  the  NAAQS  for  carbon

          monoxide." (Emphasis added.) 

                    These  commitments are sufficient  to ensure compliance

          with the statutory requirement that Pease redevelopment "will not

          cause  or contribute to  any new violation" of  the NAAQS for CO,

          see 42 U.S.C.   7506(c)(1)(B)(I), for two reasons.
          ___


                                         -41-














                    First,   PDA's   open-ended  commitment   to  implement

          necessary  mitigation   measures   includes  by   implication   a

          commitment   to  implement   the   mitigation  measures   already

          identified  in the  area of  the Spaulding  Turnpike/Gosling Road

          interchange.   Specifically,  it  includes a  commitment by  PDA,

          along with NHDOT and other necessary state agencies, to build the

          second access  to Pease,  unless later studies  reveal preferable

          alternatives for satisfying the commitment.  See supra pp. 38-39.
                                                       ___ _____



                    Corroborating  this  commitment  is  a July  31,  1991,

          letter from PDA to the Air Force stating that compliance with the

          NAAQS would  require completion of improvements  to the Spaulding

          Turnpike/Gosling Road  interchange as  well as construction  of a

          second access to Pease prior to the time the improved interchange

          reaches maximum capacity.   To permit construction of the  second

          access, PDA requested that a portion  of the golf course at Pease

          be made available.   In  the Application and  Acceptance for  the

          transfer of  airport property, the  Air Force agreed  to transfer

          the needed portions of the golf course.

                    Second, the  agreement  requiring ongoing  studies  and

          analyses and implementation of  mitigation measures as needed was

          a reasonable  way to  ensure conformity under  the circumstances.

          The  details of the redevelopment  project are not  fixed and its

          time line is extended.   As the FAA pointed  out in its ROD,  air

          quality  impacts stemming  from  certain aspects  of the  airport

          development  were speculative when  the conformity determinations


                                         -42-














          were made because the project-specific design detail necessary to

          assess those impacts properly and  develop a range of alternative

          mitigation  measures  was lacking.    Similarly,  the nonaviation

          business tenants at  the on-airport industrial  park had not  yet

          been  selected.   In  addition, over  the  20-year life  of Pease

          redevelopment, other environmental factors in the region, as well

          as technologies available  to address  them, may  change.   Given

          these uncertainties,  a commitment to pursue  ongoing studies and

          analyses and  to implement appropriate mitigation  measures based

          on demonstrated needs  was a reasonable  approach to meeting  the

          statutory requirement.     

                      (ii)  Ozone  Precursors.    With  respect  to   ozone
                      (ii)  Ozone  Precursors.
                            __________________

          standards,   the  MOU  requires  NHDES   to  work  with  PDA  and

          incorporate projected emissions from Pease redevelopment into the

          SIP  revisions.8 Unless  and  until  the  new  SIP  is  approved,

          however,  it  bars PDA  from developing  Pease "beyond  the level

          anticipated  to   generate  3.3  tons  per   day  of  hydrocarbon

          emissions"--the level of emissions from Pease permitted under the

          existing SIP.  Thus, the MOU does not place the  entire burden of

          addressing HC emissions on the SIP process. 

                    To the extent that the MOU does rely on the SIP process

          to deal  with projected  increases in  HC emissions, however,  it
                              
          ____________________

          8  According to  the 1990 Amendments, New Hampshire  was required
          to revise  its SIP  to achieve  at least a  15% reduction  in VOC
          emissions (including HCs) from 1990  levels on or before November
          of  1996 (accounting for any growth in emissions after 1990), and
          3%  additional annual  reductions on  average thereafter  through
          1999.   See  42 U.S.C.    7511a(b)(1)(A)  &amp; (c)(2)(B)  (Supp. III
                  ___
          1991).  

                                         -43-














          does  so  properly  under  the  circumstances.    The  1990   CAA

          amendments required  New Hampshire to  revise its SIP  to address

          VOC emissions (which  include HC emissions) within  approximately

          three years.   See 42 U.S.C.     7511a(c), (b)(1).   See supra p.
                         ___                                   ___ _____

          14.   NHDES's  commitment to  consult  with PDA  and  incorporate

          emissions from  Pease development into required  revisions of the

          SIP is  consistent with the SIP  process and NHDES's  role as the

          state agency responsible for  developing the SIP.  While  the EPA

          and the  legislature set ultimate standards  and goals--including

          the NAAQS and deadlines  for attaining them--the state prescribes

          in its SIP  how it  will achieve those  goals.   See 42 U.S.C.   
                                                           ___

          7407.   Thus, if NHDES  chooses to incorporate  into the required

          revisions of the SIP  certain levels of emissions from  the Pease

          project, that is its prerogative under the statutory SIP process.



                    By  agreeing to  incorporate Pease  emissions into  SIP

          revisions that will  reduce overall ozone-precursor emissions  in

          the region, NHDES has enabled  PDA to undertake the redevelopment

          without increasing the severity of or delaying attainment of  the

          NAAQS  for  ozone.   Presumably  New  Hampshire will  accommodate

          increased HC  emissions from  Pease and achieve  interim required

          emissions reductions and timely attainment of the NAAQS for ozone

          by cutting VOC emissions in other areas.  This will permit  later

          stages of  Pease redevelopment  to go forward  without increasing

          existing violations of the NAAQS for ozone or delaying attainment




                                         -44-














          of  the NAAQS  for  ozone  or  other  CAA  standards.  42  U.S.C.

            7506(c)(1)(B)(ii), (iii).   

                    Unless and until a  new SIP incorporating higher levels

          of  emissions from Pease is  approved, however, the MOU prohibits

          redevelopment  of Pease beyond a level producing 3.3 tons per day

          of HC emissions.   While the cap is in  compliance with the terms

          of the existing SIP, it is not so clear it will ensure that Pease

          redevelopment  activities  will  not  increase  the  severity  of

          existing  ozone  violations  and   delay  compliance  with  ozone

          standards.   Whether redevelopment will increase  the severity of
                                                  ________

          existing violations  depends in  part on the  baseline emissions.

          When compared to 1989  emissions, 3.3 tons per day  represents no

          increase  in the severity of  violations of the  NAAQS for ozone.

          Because,  as  we  stated  earlier,  use  of   1989  estimates  is

          reasonable  under the  circumstances,  see supra  pp. 45-47,  and
                                                 ___ _____

          because the existing  SIP permits  this level  of emissions,  the

          provisions of  the MOU satisfy the  conformity requirements under

          section 7506(c)(1)(B)(ii).  

                    Regarding delaying attainment  of the ozone  standards,

          plaintiffs   appear  to   suggest  that   to  meet   the  section

          7506(c)(1)(B)(iii)  criteria, emissions  from  the Pease  project

          must be consistent with  the VOC emissions reductions set  out in

          42 U.S.C.   7511a(c)(2).   Prior to incorporation into  a revised

          SIP, however, these reductions apply only in conformity decisions

          related  to  transportation  plans,  programs  and  projects  and

          therefore   are    not   relevant   here.       See   42   U.S.C.
                                                          ___


                                         -45-














            7506(c)(3)(A)(iii); see also 136 Cong. Rec. S16973 (October 27,
                                ________

          1990) (Statement  of Senator Baucus,  sponsor and manager  of the

          Senate bill) ("[Transportation]  plans and  programs adopted  for
                         _____________________________________

          areas that are  nonattainment for ozone or carbon monoxide during

          the interim period shall contribute to annual emission reductions

          consistent with the emissions reductions schedules adopted in the

          bill for such areas. . . .") (emphasis added). 

                                IV.  THE CERCLA CLAIM
                                IV.  THE CERCLA CLAIM

                    Newington claims that the  Air Force's 55-year lease of

          portions  of Pease  to  PDA violates  section 120(h)(3)(B)(i)  of

          CERCLA (42  U.S.C.   9620(h)(3)(B)(I)).   The district  court had

          jurisdiction over  the claim under  42 U.S.C.    9613(b)  (1988).

          Section 120  was  added  by the  1986  Superfund  Amendments  and

          Reauthorization  Act (SARA), Pub.  L. No. 99-499,  100 Stat. 1613

          (1986),  to   address  issues   concerning  hazardous   waste  on

          federally-owned sites.  Section  120(a) subjects federal agencies

          to CERCLA.   Subsections (b) through (f) outline  a comprehensive

          program   to  identify  and   remediate  hazardous  waste  sites.

          Subsection  (h)  deals  with   transfers  of  property  on  which

          hazardous substances are known to  have been released or disposed

          of.    Subsection  (h)(1)  requires  notice  of  such release  or

          disposal in any contract "for the sale  or other transfer of real

          property which is owned by the United States."

                    Subsection  (h)(3) addresses  the "contents  of certain

          deeds."  Before its recent amendment, it required that

                    .  . . in the case of any real property owned
                    by the  United States on which  any hazardous

                                         -46-














                    substance was  stored for  one year  or more,
                    known to have been released, or disposed  of,
                    each deed  entered into  for the  transfer of
                    such property  by the  United  States to  any
                    other person or entity shall contain--
                      (B) a covenant warranting that--
                      (i)  all  remedial   action  necessary   to
                    protect human health and the environment with
                    respect  to any  such substance  remaining on
                    the property  has been taken before  the date
                    of such transfer, . . . .

          42 U.S.C.   9620(h)(3).

                    Newington  argues that section  120(h)(3) prohibits the

          federal government from  transferring contaminated property until

          it has constructed, installed and is successfully operating clean

          up  procedures  and  mechanisms  that  ensure  full  remediation.

          Although  section  120(h)(3)  by  its  terms  applies  to  deeds,

          Newington contends  that the substance of  the transaction should

          control  and that the government should not be permitted to avoid

          the mandate of the  statute by labeling the transaction  a lease.

          The District Court  held that  the transfer  without an  approved

          remedial design violated  section 120(h) of CERCLA, and  that the

          failure to disclose in the  FEIS the decision to transfer  by way

          of a  long-term lease rather  than deed  violated NEPA.   See 864
                                                                    ___

          F.Supp. at  290.  Although the court  declined to hold the leases

          void,  it directed the Air  Force to prepare  a supplemental FEIS

          delineating  the remedial  design.   Newington contends  that the

          relief granted  is inadequate  to secure compliance  with section

          120(h).






                                         -47-














                    Any question about whether section 120(h)(3) applies to

          long-term  leases has been laid to rest  by the 1996 amendment of

          that section, adding the following language:

                      The  requirements of subparagraph (B) [of a
                    covenant   warranting   completion   of   all
                    necessary remedial action] shall not apply in
                    any  case  in  which   the  transfer  of  the
                    property occurs or has occurred by means of a
                    lease,  without regard to  whether the lessee
                    has   agreed  to  purchase  the  property  or
                    whether  the duration of  the lease is longer
                    than 55 years.


          National Defense Authorization Act for Fiscal Year  1996, Pub. L.

          No. 104-106,   2834, 110 Stat. ___ (1996). 

                    "When a case implicates a federal statute enacted after

          the  events in  suit,  the court's  first  task is  to  determine

          whether Congress has  expressly prescribed  the statute's  proper

          reach."  Landgraf v.  USI  Film Prods.,  114  S. Ct.  1483,  1505
                   ________     ________________

          (1994).  In  this case, Congress left no doubt that the amendment

          was to apply to the instant  lease.  The Conference Report on the

          Defense  Authorization  Act  states  in part  that  section  2834

          "addresses a  recent federal  district court decision  that could

          undermine  reuse plans  at  military  installations selected  for

          closure  with  similar  reuse plans.    The  provision serves  to

          clarify  the legislative intent on  the issue."   H.R. Conf. Rep.

          No. 450,  104th Cong., 2d Sess.  [1996 WL 33108 at  1724 (LH data

          base)] (1996).  Senator  Bob Smith of New Hampshire,  the sponsor

          of the amendment, explained that the need for the amendment arose

          out of the District Court's decision  in this case which "has . .

          . placed a cloud over redevelopment efforts at Pease .  . . [and]

                                         -48-














          has helped  to hinder  the expedited redevelopment  of facilities

          across  the Nation that are  being closed under  the Base Closure

          and Realignment  Act . . . .  The  language that was  included in

          section 2824 . . . was intended to modify section 120(h)(3) . . .

          to  provide that the Department  of Defense may  enter into long-

          term . . . leases while any phase of the cleanup is ongoing . . .

          . [N]ot only are  existing leases appropriate, but  future leases

          may be entered into  . . . ."   141 Cong. Rec. S11557  (daily ed.

          Aug.  5, 1995) (statement of  Sen. Smith).   The recent amendment

          validates the Air Force's lease to PDA under CERCLA.

                      V.  THE NEPA CLAIM
                      V.  THE NEPA CLAIM

                    The  federal  defendants  do  not  appeal  the district

          court's  order  finding a  violation  of  "the public  disclosure

          requirements of NEPA" and  directing the Air Force to  "compile a

          Supplemental FEIS."  With  regard to the NEPA claims  against the

          FAA,  the FAA  adopted  the  FEIS  prepared  by  the  Air  Force;

          therefore,  the  district  court's  decision that  the  FEIS  was

          deficient under NEPA binds the  FAA.  The only NEPA  issue before

          us then is plaintiffs'  appeal of the district court's  denial of

          injunctive relief for the NEPA violations.

                    Plaintiffs first attack the denial of injunctive relief

          on the ground that the district court  failed to make findings of

          fact and conclusions of law  sufficient to meet the  requirements

          of Fed. R. Civ. P. 52.   Plaintiffs contend that the court failed

          to provide sufficient factual or legal support for its conclusion

          that  plaintiffs "have  [not]  demonstrated the  irreparable harm


                                         -49-














          necessary for granting  a preliminary injunction."   See, 864  F.
                                                               ___

          Supp. at 292.  "The  purpose   of   Rule  52(a),   pertinent   to

          injunctions,  is to  provide  the appellate  court  with a  clear

          understanding of  the  decision."   Wynn  Oil  Co.  v.  Purolator
                                              ______________      _________

          Chemical Corp.,  536 F.2d 84,  85 (5th  Cir. 1976).   "Rule 52(a)
          ______________

          calls for a level  of detail adequate to permit  appellate review

          on factual issues, and what is adequate depends on the importance

          of an issue,  its complexity,  the depth and  nature of  evidence

          presented, and  similar elements  that vary  from case  to case."

          Knapp Shoes, Inc. v. Sylvania Mfg. Corp., 15 F.3d 1222, 1228 (1st
          _________________    ___________________

          Cir.  1994).   Although the  district court  did not  discuss its

          factual  or legal reasons for concluding  that the plaintiffs did

          not  suffer  irreparable harm,  its  lengthy  opinion provides  a

          detailed  discussion  of  the  factual and  legal  bases  for its

          substantive  conclusions.    That   discussion,  along  with  the

          voluminous  and undisputed  documentary evidence  in the  record,

          provides  this  court with  sufficient  information  to determine

          whether  the  district court  abused  its  discretion in  denying

          injunctive relief;  thus, the omission of a  statement of reasons

          for the denial of  injunctive relief was at most  harmless error.

          See,  e.g.,  Associated Elec. Coop.,  Inc. v. Mid-America Transp.
          ___   ____   _____________________________    ___________________

          Co.,  931 F.2d  1266,  1272 (8th  Cir.  1991) ("failure  to  make
          ___

          findings of fact  and conclusions  of law may  be harmless  error

          where,  as here, most relevant  facts are undisputed  and the law

          can be applied without the district court's assistance"); Koerpel
                                                                    _______

          v. Heckler, 797 F.2d  858, 866 n.4 (10th Cir.  1986) (even though
             _______


                                         -50-














          district court "should have elaborated on the facts which  formed

          the  basis  for its  conclusions .  .  . [s]uch  an  omission is,

          however,  harmless  error   because  the  record  supports   such

          findings")  (citation omitted); Huard-Steinheiser, Inc. v. Henry,
                                          _______________________    _____

          280 F.2d 79, 84 (6th Cir. 1960) (failure of district court to put

          on record findings of fact and conclusions of law  resulted in no

          prejudicial error where record clearly disclosed basis upon which

          denial of injunction rested).  Plaintiffs   next  challenge   the

          court's  decision  to  deny  injunctive  relief  on  the  merits.

          Whether to  grant injunctive  relief  under NEPA  is governed  by

          traditional equity  standards.   Sierra Club  v. Marsh,  872 F.2d
                                           ___________     _____

          497,  503-04  (1st  Cir. 1989).    The  court  must consider  the

          plaintiffs'  likelihood of  success  on the  merits, whether  the

          plaintiffs would suffer irreparable  harm without an  injunction,

          the appropriate  "balance" of  harms to  the  plaintiffs and  the

          defendants, and the  effect upon  the public  interest.   Planned
                                                                    _______

          Parenthood  League of Mass. v. Bellotti, 641 F.2d 1006, 1009 (1st
          ___________________________    ________

          Cir. 1981). 

                    We review  orders granting or  denying injunctions  for

          abuse  of discretion.  Celebrity,  Inc. v. Trina,  Inc., 264 F.2d
                                 ________________    ____________

          956, 958 (1st Cir. 1959).  "District courts have broad discretion

          to evaluate  the  irreparability  of alleged  harm  and  to  make

          determinations regarding the propriety of injunctive relief."  K-
                                                                         __

          Mart  Corp. v. Oriental Plaza, Inc., 875  F.2d 907, 915 (1st Cir.
          ___________    ____________________

          1989)  (quoting Wagner v. Taylor, 836 F.2d 566, 575-76 (D.C. Cir.
                  _______ ______    ______

          1987)). 


                                         -51-














                    The  district court  denied  injunctive  relief on  the

          ground  that   plaintiffs  would  suffer  no   irreparable  harm.

          Plaintiffs  challenge this  finding,  relying on  Sierra Club  v.
                                                            ___________

          Marsh, 872 F.2d 497  (1st Cir. 1989), and Massachusetts  v. Watt,
          _____                                     _____________     ____

          716  F.2d  946  (1st  Cir.  1983).   In  those  cases,  we  found

          irreparable harm  to exist when  agencies become entrenched  in a

          decision uninformed by the proper NEPA  process because they have

          made  commitments or  taken  action to  implement the  uninformed

          decision.  See Watt, 716 F.2d  at 951-53; Marsh, 872 F.2d at 499-
                     ___ ____                       _____

          503. Our rationale  derived from the purpose  of NEPA:   "NEPA is

          designed  to influence  the  decision making  process" by  making

          "governmental officials notice  environmental considerations  and

          take them into account."   Watt, 716 F.2d at 952.   "Thus, when a
                                     ____

          decision  to which NEPA  obligations attach  is made  without the

          informed environmental consideration that NEPA requires, the harm

          that NEPA intends to prevent has been suffered."  Id.   That harm
                                                            ___

          is not  merely a procedural harm,  but is "the added  risk to the

          environment  that takes place  when governmental  decision makers

          make  up their minds without having before them an analysis (with

          prior public  comment) of  the likely  effects of  their decision

          upon the environment."  Marsh, 872 F.2d at 500.
                                  _____

                    Plaintiffs   argue   that,   without   an   injunction,

          development  of Pease will continue and they will suffer the kind

          of  irreparable  harm we  described in  Watt  and Marsh.    As we
                                                  ____      _____

          emphasized  there,  however, our  holdings did  not mean  "that a

          likely NEPA violation automatically  calls for an injunction; the


                                         -52-














          balance  of harms may point the other  way."  See Marsh, 872 F.2d
          _________________                             ___ _____

          at 504 (quoting Watt,  716 F.2d at 952) (emphasis added). In Watt
                  _______ ____                                         ____

          and  Marsh,  plaintiffs moved  for  injunctions  in the  earliest
               _____

          stages  of  development of  the  projects  at  issue,  when  NEPA

          injunctions could  implement the  statutory purpose in  the sense

          that "bureaucratic decision makers . . . are less  likely to tear

          down a nearly completed  project than a barely  started project."

          Marsh, 872 F.2d at 500.   In contrast, plaintiff here, well aware
          _____

          of the  defective FEIS, waited  nearly three years  before moving

          for  injunctive relief.  CLF  filed its complaint  in March 1992,

          some  six months after the  challenged FEIS and  ROD were issued;

          Newington  filed its  complaint  in June  1992.   Both complaints

          recited requests  for permanent injunctions in  their prayers for

          relief.   Despite  these  early references  to equitable  relief,

          however, neither  CLF nor  Newington ever  moved  to restrain  or

          enjoin any aspect of the project.  When the cases came before the

          district court on cross-motions for summary judgment, plaintiffs'

          briefs focused on the  merits of the substantive claims,  not the

          need for injunctive relief.  Only  after the entry of the court's

          order granting summary judgment in  part did plaintiffs argue, in

          a  motion to amend, that  they were entitled  to broad injunctive

          relief.

                    To  be taken into  account in assessing  the balance of

          harms is the  fact that  between the time  when plaintiffs  filed

          suit  and  when  they  ultimately moved  for  injunctive  relief,

          significant  commitments were  made to  the  Pease project.   The


                                         -53-














          State of New  Hampshire issued $8  million in general  obligation

          bonds to fund the  operation of PDA and $40 million in guaranteed

          bonds to help finance the location of two major tenants at Pease;

          construction  contracts aggregating $50  million were entered and

          federal  grants of more than  $6 million received  to support the

          airport operations;  and more than 1,100  persons became employed

          by tenants and agencies  as a result of the  development project.

          These commitments would be  placed at risk if an  injunction were

          granted.

                    Thus, the  type of public and  private commitments with

          which Watt and Marsh were concerned had already been made here by
                ____     _____

          the  time plaintiffs sought injunctive relief.  If harm was done,

          it largely had been done, not by the court's denial of injunctive

          relief, but by plaintiffs' failure  to timely seek it.  While  it

          is true that as development continues other actions will be taken

          to implement the project, their impact  will be only incremental.

          Future risks  of environmental harm will  be minimized, moreover,

          by the district court's retention of jurisdiction under its order

          that  the Air  Force  compile a  Supplemental  FEIS, by  the  Air

          Force's commitment to  this court that  it "will use the  SEIS to

          review  its August 1991 ROD and April 1992 Supplemental ROD," and

          by the continuing oversight responsibilities of the FAA under the

          Surplus Property Act and of the EPA under the CAA.

                    Under  these  circumstances, it  was  not  an abuse  of

          discretion for the district  court to deny the  injunctive relief

          sought.  


                                         -54-














                                   VI.  CONCLUSION
                                   VI.  CONCLUSION

                    We  reverse  the  district  court's  determination that

          defendants  violated CERCLA and affirm the  judgment below in all

          other respects.   Pending the completion of the Supplemental FEIS

          on which the FAA is working in conjunction with the Air Force, we

          retain  jurisdiction  under  the  petitions of  the  NEPA  claims

          against the FAA but dismiss the CAA claims against it.

                    SO ORDERED.
                    __________






































                                         -55-









